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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DIVISION OF MONTANA
                          BUTTE DIVISION

 GINA JAEGER, individually, AND AS         Cause No. CV- I 6-30-BU-SEH
 PERSONAL REPRESENTATIVE OF THE
 ESTATE OF HER SISTER CHARLENE
 HILL,
                                            PLAINTIFF'S AMENDED
               Plaintiff,                        MOTION TO
                                               REMAND CASE
        VS.                                   TO STATE COURT
GENESIS HEALTHCARE, INC.,
dlb/a THE BUTTE CENTER,
JOHN DOE LLC's 1-10;
JOHN DOE, INC., 1-10

              Defendants.


      Plaintiff hereby respectfully moves this Court to remand this case back

to the 2' Judicial District Court of the State of Montana, Butte Silver Bow
                                Ps amended Motion to Remand Case to State Court
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County on the following grounds that Defendant, Genesis Healthcare, Inc.

d/b/a Butte Center was properly served on May 12th 2016 and the Notice of

Removal filed by Peak Medical Montana Operations, LLC was filed more

than 30 days after proper service on Defendant Genesis Healthcare, Inc. and

therefore the Notice of Removal is untimely and the purported joinder by

Genesis Healthcare, Inc. in Peak Medical Montana Operations, LLC's notice

of removal is untimely.

            DATED this 1 1th day of July, 2016.



                                     /s/ Torger S. Oaas
                                     TORGER S. OAAS
                                     Attorney for Plaintiff




                                Ps Amended Motion to Remand Case to State Court
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